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                    Exhibit A
Case 1:21-cv-00309-ELH   Document 337-1   Filed 06/06/25          Andrea
                                                           Page 2 of 5 Lynn Chasteen
                                                                  Will County Circuit Clerk
                                                              Twelfth Judicial Circuit Court
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